      Case: 1:21-cv-03140 Document #: 23 Filed: 12/15/21 Page 1 of 1 PageID #:82




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                         :
DANIEL HILTZ, individually and on behalf :              Case No. 1:21-cv-03140
of all others similarly situated         :
                                         :              Honorable Harry D. Leinenweber
                        Plaintiff,       :
                v.                       :
                                         :
INVENTURE FOODS, INC.,                   :
                                         :
                        Defendant        :
                                         :


            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff and Defendant hereby stipulate to the voluntary dismissal of this matter with

prejudice. Each side shall bear their own costs and fees, including attorneys’ fees.

Dated: December 14, 2021

SHEEHAN & ASSOCIATES, P.C.                           COZEN O’CONNOR




____________________________                         _____________________
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